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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



  AMERICAN ASSOCIATION OF
  UNIVERSITY PROFESSORS, ET AL.,

                           Plaintiff,
                                                         Civil Action No. 1:25-cv-10685-WGY
                -v-
                                                                Declaration of John Armstrong
MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT OF
STATE, ET AL.,

                           Defendant.


                       DECLARATION OF JOHN ARMSTRONG
                   ASSERTING DELIBERATIVE PROCESS PRIVILEGE


I, John Armstrong, hereby declare under penalty of perjury:

   1. I am the Senior Bureau Official within the U.S. Department of State’s Bureau of Consular

       Affairs. I am a career member of the Senior Foreign Service with the rank of Counselor.

       Prior to becoming the Senior Bureau Official, I briefly served as the Deputy Assistant

       Secretary for Overseas Citizen Services. I served overseas as the Consul General in Lima,

       Peru; as Economic Counselor in Warsaw, Poland; as Consular Section Chief and Acting

       Deputy Chief of Mission in Nassau, Bahamas; Deputy Consul General in Kyiv, Ukraine;

       and Nonimmigrant Visa Chief in Bucharest, Romania. I have also previously served

       domestic assignments in Washington, D.C., as Director of the Office of Eastern European

       Affairs, Director of the Washington Passport Agency, Senior Political Officer on the

       Russian Desk, and Belarus Desk Officer.

   2. As the Senior Bureau Official, I play a central role in formulating and implementing
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    policies related to the protection of U.S. citizens abroad, visa and passport issuance, and

    consular operations globally. In this capacity, I routinely participate in internal

    deliberations with Department officials and interagency partners concerning complex

    policy issues, operational planning, and diplomatic strategy.

3. This declaration is based on my personal knowledge and vast professional experience. In

    my official capacity as Senior Bureau Officer, I have exercised oversight over matters

    involving United States citizen services abroad. These matters all encompass the sensitive

    deliberative process of the Department.

4. I am aware of the instant lawsuit that has been filed in the U.S. District Court for the District

    of Massachusetts. I understand that Marco Rubio in his official capacity as Secretary of

    State, in addition to the Department of State are named defendants.

5. I submit this declaration to explain the assertion of the deliberative process privilege (DPP)

    with respect to highly sensitive information that Plaintiffs seek the court to compel be

    publicly released.

6. The authority to assert the deliberative process privilege in judicial and administrative

    proceedings for the Department of State has been delegated to me in Department

    Delegations of Authority No. 479 and No. 577, as published in the Federal Register.

7. Based upon my personal review and knowledge of the information solicited by Plaintiffs,

    I am formally asserting DPP over the documents and information identified below, which

    the government withheld as privileged:

       Material Subject to the DPP:

                i. Report on Department of State Authorities to Counter Anti-Semitism and

                    Recommendations for Familiarizing Institutions of Higher Education with




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                  the Security and Related Grounds for Visa Inadmissibility

              ii. Portions of the deposition of Senior Bureau Official John Armstrong,

                  related to interagency and Presidential communications, based upon the

                  rough transcript of that deposition that is currently available (Defendants

                  have not yet had an opportunity to identify/request any necessary

                  corrections to the transcript)

             iii. Portions of the deposition of Senior Bureau Official John Armstrong related

                  to the draft report, prepared for the White House concerning a “catch and

                  revoke” policy implementing Executive Orders No. 14161 and No. 14188,

                  based upon the rough transcript of that deposition that is currently available

             iv. Portions of the deposition of Senior Bureau Official John Armstrong related

                  to Department of State decisions involving the Five Targeted Noncitizens,

                  based upon the rough transcript of that deposition that is currently available

              v. Department of State action memoranda to the Secretary of State concerning

                  Removal or Determinations of Deportability (three) and to Senior Bureau

                  Official John Armstrong concerning a visa revocation (one)

             vi. Interrogatory responses related to the above

8. As the lead federal agency for United States foreign affairs, the Department of State is

   responsible for advancing American interests abroad, promoting peace and security, and

   implementing the President’s foreign policy. The Department engages with foreign

   governments, global organizations, and domestic agencies on a broad range matters

   pertaining to human rights, counterterrorism, immigration, and U.S. citizen protection

   abroad. Mission fulfilment is reliant upon candid internal deliberations and robust




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   interagency coordination to develop effective strategies, perform adequate risk assessment,

   and respond to complex global issues.

9. With regard to the report named in this declaration and identified in the Government’s

   Index as Exhibit A, it was prepared to support internal agency deliberations within the

   Department, across interagency partners, and with the President and his advisors. This

   document is both pre-decisional and deliberative in nature. It reflects internal agency

   assessments, legal and policy interpretations, and potential courses of action that have not

   been finalized or adopted. Sensitive foreign policy and national security matters are

   contained within this report.

10. The release of the information that Plaintiffs seek would reveal sensitive information

   subject to DPP. This includes information pertaining to diplomatic engagement strategies,

   policy proposals, and interagency coordination. The revelation of such information could

   undermine the efforts of the Department to carry out its mission of promoting peace and

   security through robust and candid internal deliberations.

11. In carrying out its mission, the Department of State depends on candid internal

   deliberations and the ability of its personnel to provide frank assessments without the fear

   of premature and improper disclosure. Put simply, the release of the information Plaintiffs

   seek would compromise the Department’s ability to perform its mission and is properly

   designated DPP. Disclosure of deliberative process privileged information could provide

   those who wish to harm the United States with valuable information in the form of a

   roadmap to the government’s internal decision-making processes. This roadmap would

   reveal strategic priorities, vulnerabilities, or areas of uncertainty that our adversaries could

   exploit.




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